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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
BENNIE G. THOMPSON et al.,                )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           )   Case No. 21-cv-00400 (APM)
                                          )
DONALD J. TRUMP et al.,                   )
                                          )
      Defendants.                         )
_________________________________________ )
_________________________________________
                                          )
ERIC SWALWELL,                            )
                                          )
      Plaintiff,                          )
                                          )
             v.                           )   Case No. 21-cv-00586 (APM)
                                          )
DONALD J. TRUMP et al.,                   )
                                          )
      Defendants.                         )
_________________________________________ )
_________________________________________
                                          )
JAMES BLASSINGAME &                       )
      SIDNEY HEMBY,                       )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           )   Case No. 21-cv-00858 (APM)
                                          )
DONALD J. TRUMP,                          )
                                          )
      Defendant.                          )
_________________________________________ )
            Case 1:21-cv-00586-APM Document 47 Filed 01/05/22 Page 2 of 2




                                             ORDER

       The oral argument scheduled in these matters for January 10, 2022, shall be organized and

proceed by subject matter as follows:

       1.       Presidential immunity/Article III standing (15 minutes per side)

       2.       Pleading of § 1985(1) claim (including statutory standing) (15 minutes per side)

       3.       First Amendment defense (15 minutes per side)

       4.       Pleading of common law/D.C. Code offenses (10 minutes per side)

       5.       Defendant Rep. Mo Brooks’s Westfall Act certification request (10 minutes per
                side, including the United States)

       The time designations noted above are collective across all three cases (to the extent

applicable), not per party per case. The court encourages each side, where appropriate, to designate

a lead counsel on a particular topic. Although the court will not strictly limit time to a designated

lead counsel, other counsel shall avoid repeating arguments already presented.




Dated: January 5, 2022                                       Amit P. Mehta
                                                      United States District Court Judge




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